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                        EXHIBIT B
                 Case 21-14486-abl                    Doc 54-2             Entered 10/05/21 14:59:24                           Page 2 of 8
                                                                    Tecumseh Overlap Receivables




            485                                                                         $ 1,321,907.04
Fund PatientID IncidentId ClaimId HASPerClaimCount TIFPerClaimCount   TotalClaimGFB     BillGFB           AttorneyFirstName   AttorneyLastName   BillId      PaidDate
TIF          95         97     175                32                1         262617.85 $        208.00   Campbell            Williamson              2104   2016-06-24
TIF       1206       1185     2159                11                1         346305.59 $     34,887.48   Jonathan            Wade                  27587    2020-11-16
TIF       1242       1222     2230                48                2         119015.75 $        597.60   John                Leslie                32406    2021-07-30
TIF       1242       1222     2230                48                2         119015.75 $        896.40   John                Leslie                32407    2021-07-30
TIF       1960       1966     3611                52               10           97752.9 $        788.00   Jonathan            Wade                  19522    2020-05-29
TIF       1960       1966     3611                52               10           97752.9 $      6,226.00   Jonathan            Wade                  25339    2020-10-06
TIF       1960       1966     3611                52               10           97752.9 $        540.95   Jonathan            Wade                  19406    2020-05-29
TIF       1960       1966     3611                52               10           97752.9 $        430.50   Jonathan            Wade                  18162    2020-05-14
TIF       1960       1966     3611                52               10           97752.9 $        430.50   Jonathan            Wade                  18163    2020-05-14
TIF       1960       1966     3611                52               10           97752.9 $        505.50   Jonathan            Wade                  19458    2020-05-29
TIF       1960       1966     3611                52               10           97752.9 $        444.00   Jonathan            Wade                  19459    2020-05-29
TIF       1960       1966     3611                52               10           97752.9 $        430.50   Jonathan            Wade                  19460    2020-05-29
TIF       1960       1966     3611                52               10           97752.9 $        361.50   Jonathan            Wade                  19463    2020-05-29
TIF       1960       1966     3611                52               10           97752.9 $      1,230.00   Jonathan            Wade                  19674    2020-05-29
TIF       2179       2189     4057                13                1          15960.23 $        307.04   Jonathan            Wade                  10678    2019-05-22
TIF       2190       2202     4082                11                4            19153 $         446.00   John                Alday                 32549    2021-08-06
TIF       2190       2202     4082                11                4            19153 $         450.00   John                Alday                 32550    2021-08-06
TIF       2190       2202     4082                11                4            19153 $       1,148.00   John                Alday                 32551    2021-08-06
TIF       2190       2202     4082                11                4            19153 $       1,438.00   John                Alday                 32552    2021-08-06
TIF       2313      10830 21297                   15                1               350 $        350.00   Reginald A          Greene                29047    2021-02-12
TIF       2361       2374     4412                 1                3            518.68 $         25.00   Neal                Howard                  8682   2018-10-29
TIF       2361       2374     4412                 1                3            518.68 $        248.27   Neal                Howard                  8542   2018-10-29
TIF       2361       2374     4412                 1                3            518.68 $        113.25   Neal                Howard                  8342   2018-09-28
TIF       2540       2555     4771                 3                2             4498 $       1,389.00   Bruce               Hagen                 25370    2020-10-06
TIF       2540       2555     4771                 3                2             4498 $         200.00   Bruce               Hagen                 27714    2020-12-04
TIF       2569       2591     4843                 7                3            13351 $       2,337.00   Reginald A          Greene                32676    2021-09-03
TIF       2569       2591     4843                 7                3            13351 $         836.00   Reginald A          Greene                32506    2021-08-06
TIF       2569       2591     4843                 7                3            13351 $         329.00   Reginald A          Greene                32722    2021-09-03
TIF       2600       2625     4911                 1                2            18000 $       4,500.00   Larry               Littleton             29975    2021-04-15
TIF       2600       2625     4911                 1                2            18000 $       9,000.00   Larry               Littleton             32095    2021-06-30
TIF       2616       2641     4943                 3                1            3795.3 $        834.30   W. Winston          Briggs                25270    2020-10-06
TIF       2624       2650     4961                24                6          10387.05 $        151.00   Bobby               Johnson               27381    2020-11-10
TIF       2624       2650     4961                24                6          10387.05 $        213.00   Bobby               Johnson               28120    2020-12-22
TIF       2624       2650     4961                24                6          10387.05 $        345.00   Bobby               Johnson               27377    2020-11-10
TIF       2624       2650     4961                24                6          10387.05 $        291.00   Bobby               Johnson               27379    2020-11-10
TIF       2624       2650     4961                24                6          10387.05 $        248.00   Bobby               Johnson               27380    2020-11-10
TIF       2624       2650     4961                24                6          10387.05 $        345.00   Bobby               Johnson               27378    2020-11-10
TIF       2677       2703     5067                86               55         209163.38 $      3,780.00   Natanya             Brooks                27850    2020-12-04
TIF       2677       2703     5067                86               55         209163.38 $        723.90   Natanya             Brooks                28226    2021-01-07
TIF       2677       2703     5067                86               55         209163.38 $      3,215.42   Natanya             Brooks                28516    2021-01-05
TIF       2677       2703     5067                86               55         209163.38 $        184.84   Natanya             Brooks                17086    2020-03-04
TIF       2677       2703     5067                86               55         209163.38 $        257.46   Natanya             Brooks                29009    2021-02-12
TIF       2677       2703     5067                86               55         209163.38 $        257.46   Natanya             Brooks                28639    2021-01-19
TIF       2677       2703     5067                86               55         209163.38 $        555.57   Natanya             Brooks                27398    2020-11-10
TIF       2677       2703     5067                86               55         209163.38 $      2,030.00   Natanya             Brooks                28464    2021-01-05
TIF       2677       2703     5067                86               55         209163.38 $        181.20   Natanya             Brooks                15223    2019-09-03
TIF       2677       2703     5067                86               55         209163.38 $        184.74   Natanya             Brooks                15224    2019-09-03
TIF       2677       2703     5067                86               55         209163.38 $        172.14   Natanya             Brooks                15233    2019-12-03
TIF       2677       2703     5067                86               55         209163.38 $        179.24   Natanya             Brooks                15234    2019-12-03
TIF       2677       2703     5067                86               55         209163.38 $      1,550.00   Natanya             Brooks                24382    2020-07-23
TIF       2677       2703     5067                86               55         209163.38 $      2,030.00   Natanya             Brooks                27577    2020-11-16
TIF       2677       2703     5067                86               55         209163.38 $        520.00   Natanya             Brooks                28055    2020-12-22
TIF       2677       2703     5067                86               55         209163.38 $        100.80   Natanya             Brooks                15232    2020-01-03
TIF       2677       2703     5067                86               55         209163.38 $      2,030.00   Natanya             Brooks                25027    2020-09-17
TIF       2677       2703     5067                86               55         209163.38 $      1,493.40   Natanya             Brooks                27350    2020-11-10
TIF       2677       2703     5067                86               55         209163.38 $      1,199.23   Natanya             Brooks                24909    2020-09-03
TIF       2677       2703     5067                86               55         209163.38 $        510.00   Natanya             Brooks                28933    2021-02-02
TIF       2677       2703     5067                86               55         209163.38 $        212.26   Natanya             Brooks                30651    2021-05-03
TIF       2677       2703     5067                86               55         209163.38 $        520.00   Natanya             Brooks                31291    2021-05-19
TIF       2677       2703     5067                86               55         209163.38 $        195.36   Natanya             Brooks                15235    2019-12-03
TIF       2677       2703     5067                86               55         209163.38 $      1,199.23   Natanya             Brooks                21266    2020-07-02
TIF       2677       2703     5067                86               55         209163.38 $        555.57   Natanya             Brooks                24501    2020-11-10
TIF       2677       2703     5067                86               55         209163.38 $      2,530.00   Natanya             Brooks                27849    2020-12-04
TIF       2677       2703     5067                86               55         209163.38 $        182.76   Natanya             Brooks                15222    2019-09-03
TIF       2677       2703     5067                86               55         209163.38 $      1,199.23   Natanya             Brooks                23953    2020-08-05
TIF       2677       2703     5067                86               55         209163.38 $        152.14   Natanya             Brooks                17296    2020-03-04
TIF       2677       2703     5067                86               55         209163.38 $        555.57   Natanya             Brooks                27399    2020-11-10
TIF       2677       2703     5067                86               55         209163.38 $      2,441.00   Natanya             Brooks                30087    2021-04-22
TIF       2677       2703     5067                86               55         209163.38 $        723.90   Natanya             Brooks                30652    2021-05-03
TIF       2677       2703     5067                86               55         209163.38 $      1,550.00   Natanya             Brooks                21887    2020-06-12
TIF       2677       2703     5067                86               55         209163.38 $        520.00   Natanya             Brooks                26851    2020-10-21
TIF       2677       2703     5067                86               55         209163.38 $        257.46   Natanya             Brooks                27400    2020-11-10
TIF       2677       2703     5067                86               55         209163.38 $        330.76   Natanya             Brooks                29116    2021-03-08
TIF       2677       2703     5067                86               55         209163.38 $        329.00   Natanya             Brooks                30089    2021-04-22
TIF       2677       2703     5067                86               55         209163.38 $        184.40   Natanya             Brooks                15230    2019-12-03




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                                                                   Tecumseh Overlap Receivables




            485                                                                           $ 1,321,907.04
Fund PatientID IncidentId ClaimId HASPerClaimCount TIFPerClaimCount   TotalClaimGFB       BillGFB           AttorneyFirstName   AttorneyLastName   BillId     PaidDate
TIF       2677       2703     5067                86               55         209163.38   $        197.49   Natanya             Brooks                29114   2021-03-08
TIF       2677       2703     5067                86               55         209163.38   $        453.00   Natanya             Brooks                29259   2021-03-19
TIF       2677       2703     5067                86               55         209163.38   $      1,055.00   Natanya             Brooks                30088   2021-04-22
TIF       2677       2703     5067                86               55         209163.38   $        520.00   Natanya             Brooks                20071   2020-06-12
TIF       2677       2703     5067                86               55         209163.38   $        195.87   Natanya             Brooks                29115   2021-03-08
TIF       2719       2745     5151                13                1          46245.08   $     30,170.08   Jonathan            Wade                  12030   2019-10-25
TIF       2760       2788     5237                58               42         278543.16   $        550.00   Jonathan            Wade                  24561   2020-08-13
TIF       2760       2788     5237                58               42         278543.16   $        450.00   Jonathan            Wade                  25034   2020-09-25
TIF       2760       2788     5237                58               42         278543.16   $      6,991.90   Jonathan            Wade                  24733   2020-08-13
TIF       2760       2788     5237                58               42         278543.16   $        550.00   Jonathan            Wade                  23151   2020-06-29
TIF       2760       2788     5237                58               42         278543.16   $        550.00   Jonathan            Wade                  25035   2020-09-25
TIF       2760       2788     5237                58               42         278543.16   $        450.00   Jonathan            Wade                  25037   2020-09-25
TIF       2760       2788     5237                58               42         278543.16   $        429.00   Jonathan            Wade                  18243   2020-05-14
TIF       2760       2788     5237                58               42         278543.16   $        360.00   Jonathan            Wade                  18244   2020-05-14
TIF       2760       2788     5237                58               42         278543.16   $        360.00   Jonathan            Wade                  18540   2020-05-14
TIF       2760       2788     5237                58               42         278543.16   $        259.00   Jonathan            Wade                  19072   2020-05-29
TIF       2760       2788     5237                58               42         278543.16   $        360.00   Jonathan            Wade                  19331   2020-05-29
TIF       2760       2788     5237                58               42         278543.16   $        360.00   Jonathan            Wade                  19332   2020-05-29
TIF       2760       2788     5237                58               42         278543.16   $        360.00   Jonathan            Wade                  19333   2020-05-29
TIF       2760       2788     5237                58               42         278543.16   $        429.00   Jonathan            Wade                  19399   2020-05-29
TIF       2760       2788     5237                58               42         278543.16   $        360.00   Jonathan            Wade                  19400   2020-05-29
TIF       2760       2788     5237                58               42         278543.16   $        360.00   Jonathan            Wade                  19919   2020-05-29
TIF       2760       2788     5237                58               42         278543.16   $        430.50   Jonathan            Wade                  19922   2020-05-29
TIF       2760       2788     5237                58               42         278543.16   $        361.50   Jonathan            Wade                  21901   2020-06-12
TIF       2760       2788     5237                58               42         278543.16   $        361.50   Jonathan            Wade                  23105   2020-06-29
TIF       2760       2788     5237                58               42         278543.16   $        361.50   Jonathan            Wade                  23106   2020-06-29
TIF       2760       2788     5237                58               42         278543.16   $        348.00   Jonathan            Wade                  23107   2020-06-29
TIF       2760       2788     5237                58               42         278543.16   $        348.00   Jonathan            Wade                  23108   2020-06-29
TIF       2760       2788     5237                58               42         278543.16   $        348.00   Jonathan            Wade                  23239   2020-06-29
TIF       2760       2788     5237                58               42         278543.16   $        348.00   Jonathan            Wade                  23240   2020-06-29
TIF       2760       2788     5237                58               42         278543.16   $        348.00   Jonathan            Wade                  24109   2020-07-23
TIF       2760       2788     5237                58               42         278543.16   $        348.00   Jonathan            Wade                  24110   2020-07-23
TIF       2760       2788     5237                58               42         278543.16   $        363.00   Jonathan            Wade                  24111   2020-07-23
TIF       2760       2788     5237                58               42         278543.16   $        360.00   Jonathan            Wade                  24437   2020-07-23
TIF       2760       2788     5237                58               42         278543.16   $        430.50   Jonathan            Wade                  24583   2020-08-13
TIF       2760       2788     5237                58               42         278543.16   $        361.50   Jonathan            Wade                  24584   2020-08-13
TIF       2760       2788     5237                58               42         278543.16   $        360.00   Jonathan            Wade                  24707   2020-08-13
TIF       2760       2788     5237                58               42         278543.16   $        430.50   Jonathan            Wade                  24708   2020-08-13
TIF       2760       2788     5237                58               42         278543.16   $        361.50   Jonathan            Wade                  24960   2020-09-17
TIF       2760       2788     5237                58               42         278543.16   $        348.00   Jonathan            Wade                  24961   2020-09-17
TIF       2760       2788     5237                58               42         278543.16   $        319.00   Jonathan            Wade                  24962   2020-09-17
TIF       2760       2788     5237                58               42         278543.16   $        430.00   Jonathan            Wade                  24973   2020-09-17
TIF       2760       2788     5237                58               42         278543.16   $        360.00   Jonathan            Wade                  24975   2020-09-17
TIF       2760       2788     5237                58               42         278543.16   $        360.00   Jonathan            Wade                  24976   2020-09-17
TIF       2760       2788     5237                58               42         278543.16   $        430.50   Jonathan            Wade                  25030   2020-09-17
TIF       2760       2788     5237                58               42         278543.16   $        361.50   Jonathan            Wade                  25031   2020-09-17
TIF       2760       2788     5237                58               42         278543.16   $      6,521.10   Jonathan            Wade                  23109   2020-06-29
TIF       2760       2788     5237                58               42         278543.16   $        450.00   Jonathan            Wade                  24383   2020-07-23
TIF       2767       2795     5251                 1                1            12200    $      3,200.00   Cristobal M.        Galindo               10668   2019-05-15
TIF       2768       2796     5253                 1                1            11400    $      2,400.00   Cristobal M.        Galindo               10669   2019-05-15
TIF       2772       2800     5261                 1                1            16775    $      3,275.00   Cristobal M.        Galindo               10667   2019-05-15
TIF       2836       2864     5389                 3                1             7840    $      2,730.00   Ronald              Chalker               24556   2020-08-13
TIF       2916       2944     5549                 1                1            15250    $      6,250.00   Joshua D.           Chambers              10673   2019-05-15
TIF       2963       2991     5640                62                6          159489.1   $      1,313.72   Caroline            Owings                18712   2020-05-29
TIF       2963       2991     5640                62                6          159489.1   $      2,363.00   Caroline            Owings                18316   2020-05-14
TIF       2963       2991     5640                62                6          159489.1   $        863.00   Caroline            Owings                18317   2020-05-14
TIF       2963       2991     5640                62                6          159489.1   $        480.00   Caroline            Owings                18713   2020-05-29
TIF       2963       2991     5640                62                6          159489.1   $      2,420.00   Caroline            Owings                23589   2020-07-23
TIF       2963       2991     5640                62                6          159489.1   $        480.00   Caroline            Owings                18544   2020-05-14
TIF       2977       3005     5668                10                1             4882    $        125.00   Alyssa              Martins               18313   2020-05-14
TIF       2995       3023     5704                29                3         153220.54   $     12,704.00   Timothy             Gardner               13096   2019-11-14
TIF       2995       3023     5704                29                3         153220.54   $        195.05   Timothy             Gardner               18551   2020-05-14
TIF       2995       3023     5704                29                3         153220.54   $        195.05   Timothy             Gardner               23052   2020-06-29
TIF       3001       3030     5718                46                4          25200.25   $        125.00   Jack                Hinton                18306   2020-05-14
TIF       3001       3030     5718                46                4          25200.25   $        631.00   Jack                Hinton                23987   2020-07-23
TIF       3001       3030     5718                46                4          25200.25   $      1,500.00   Jack                Hinton                11630   2019-09-06
TIF       3001       3030     5718                46                4          25200.25   $      1,010.00   Jack                Hinton                18318   2020-05-14
TIF       3059       3087     5834                15               17          80932.59   $        117.12   Natanya             Brooks                16286   2019-10-01
TIF       3059       3087     5834                15               17          80932.59   $        116.52   Natanya             Brooks                16287   2019-10-01
TIF       3059       3087     5834                15               17          80932.59   $      4,492.60   Natanya             Brooks                32496   2021-08-06
TIF       3059       3087     5834                15               17          80932.59   $      1,394.40   Natanya             Brooks                32497   2021-08-06
TIF       3059       3087     5834                15               17          80932.59   $        126.27   Natanya             Brooks                17016   2020-03-04
TIF       3059       3087     5834                15               17          80932.59   $        159.04   Natanya             Brooks                23821   2020-07-02
TIF       3059       3087     5834                15               17          80932.59   $        115.36   Natanya             Brooks                16282   2019-10-01
TIF       3059       3087     5834                15               17          80932.59   $        115.40   Natanya             Brooks                16284   2019-10-01




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                                                                   Tecumseh Overlap Receivables




            485                                                                           $ 1,321,907.04
Fund PatientID IncidentId ClaimId HASPerClaimCount TIFPerClaimCount   TotalClaimGFB       BillGFB            AttorneyFirstName   AttorneyLastName   BillId     PaidDate
TIF       3059       3087     5834                15               17          80932.59   $        115.16    Natanya             Brooks                16288   2019-10-01
TIF       3059       3087     5834                15               17          80932.59   $        115.36    Natanya             Brooks                17017   2020-03-04
TIF       3059       3087     5834                15               17          80932.59   $        116.40    Natanya             Brooks                16293   2019-09-03
TIF       3103       3131     5921                 5                1             7920    $        410.00    Ronald              Chalker               11635   2019-09-06
TIF       3280       3307     6269                 8                4          16804.29   $        164.12    Michael             Moran                 18164   2020-05-14
TIF       3280       3307     6269                 8                4          16804.29   $      8,966.00    Michael             Moran                 23915   2020-07-23
TIF       3280       3307     6269                 8                4          16804.29   $      3,209.00    Michael             Moran                 23985   2020-07-23
TIF       3280       3307     6269                 8                4          16804.29   $        276.00    Michael             Moran                 23293   2020-06-29
TIF       3298       3326     6307                21                5         161931.51   $        700.00    Ronald              Chalker               11632   2019-09-06
TIF       3298       3326     6307                21                5         161931.51   $     15,000.00    Ronald              Chalker               24753   2020-09-17
TIF       3298       3326     6307                21                5         161931.51   $        404.00    Ronald              Chalker               24452   2020-08-13
TIF       3298       3326     6307                21                5         161931.51   $ 113,000.00       Ronald              Chalker               24564   2020-07-30
TIF       3298       3326     6307                21                5         161931.51   $ (18,475.50)      Ronald              Chalker               25102   2020-09-09
TIF       3312       3340     6335                 2                5          32848.42   $     26,299.28    Craig               Miller                17581   2020-03-26
TIF       3312       3340     6335                 2                5          32848.42   $     (4,059.28)   Craig               Miller                23316   2020-06-25
TIF       3312       3340     6335                 2                5          32848.42   $      5,756.70    Craig               Miller                20058   2020-06-12
TIF       3312       3340     6335                 2                5          32848.42   $        293.28    Craig               Miller                19405   2020-05-29
TIF       3312       3340     6335                 2                5          32848.42   $        293.28    Craig               Miller                24856   2020-09-17
TIF       3316       3344     6343                 6               14         203951.87   $      6,000.00    Riah                Greathouse            13673   2019-12-04
TIF       3316       3344     6343                 6               14         203951.87   $        385.00    Riah                Greathouse            28551   2021-01-19
TIF       3316       3344     6343                 6               14         203951.87   $     59,618.00    Riah                Greathouse            13675   2019-12-04
TIF       3316       3344     6343                 6               14         203951.87   $        377.23    Riah                Greathouse            24492   2020-07-23
TIF       3316       3344     6343                 6               14         203951.87   $        157.01    Riah                Greathouse            28550   2021-01-19
TIF       3316       3344     6343                 6               14         203951.87   $      2,143.50    Riah                Greathouse            24496   2020-07-23
TIF       3316       3344     6343                 6               14         203951.87   $        295.51    Riah                Greathouse            28635   2021-01-19
TIF       3316       3344     6343                 6               14         203951.87   $        582.12    Riah                Greathouse            24495   2020-07-23
TIF       3316       3344     6343                 6               14         203951.87   $        157.01    Riah                Greathouse            32639   2021-09-03
TIF       3316       3344     6343                 6               14         203951.87   $        259.74    Riah                Greathouse            24493   2020-07-23
TIF       3316       3344     6343                 6               14         203951.87   $        377.23    Riah                Greathouse            24494   2020-07-23
TIF       3316       3344     6343                 6               14         203951.87   $      1,500.00    Riah                Greathouse            28634   2021-01-19
TIF       3316       3344     6343                 6               14         203951.87   $        157.01    Riah                Greathouse            31995   2021-06-24
TIF       3316       3344     6343                 6               14         203951.87   $      1,500.00    Riah                Greathouse            24497   2020-07-23
TIF       3318       7597 14839                    6                5            19513    $        835.00    Charles E (Ted)     Lake, Jr.             32291   2021-07-13
TIF       3318       7597 14839                    6                5            19513    $      2,225.00    Charles E (Ted)     Lake, Jr.             24855   2020-09-17
TIF       3318       7597 14839                    6                5            19513    $     11,874.00    Charles E (Ted)     Lake, Jr.             32293   2021-07-13
TIF       3318       7597 14839                    6                5            19513    $      2,370.00    Charles E (Ted)     Lake, Jr.             21749   2020-06-12
TIF       3318       7597 14839                    6                5            19513    $      2,209.00    Charles E (Ted)     Lake, Jr.             32292   2021-07-30
TIF       3338       3367     6389                13                1           9008.68   $        441.24    Angel               Figueredo             23045   2020-06-29
TIF       3349       3378     6411                 4                8            18755    $      3,780.00    Matthew             Broun                 18319   2020-05-14
TIF       3349       3378     6411                 4                8            18755    $      2,530.00    Matthew             Broun                 24272   2020-07-23
TIF       3349       3378     6411                 4                8            18755    $      3,780.00    Matthew             Broun                 24273   2020-07-23
TIF       3349       3378     6411                 4                8            18755    $        520.00    Matthew             Broun                 21889   2020-06-12
TIF       3349       3378     6411                 4                8            18755    $      2,530.00    Matthew             Broun                 18320   2020-05-14
TIF       3349       3378     6411                 4                8            18755    $        520.00    Matthew             Broun                 18321   2020-05-14
TIF       3349       3378     6411                 4                8            18755    $        520.00    Matthew             Broun                 24112   2020-07-23
TIF       3349       3378     6411                 4                8            18755    $      1,100.00    Matthew             Broun                 18165   2020-05-14
TIF       3372       3401     6458                 4                7            42802    $     20,120.00    Paul                Kaufman               23992   2020-07-23
TIF       3372       3401     6458                 4                7            42802    $        800.00    Paul                Kaufman               23990   2020-07-23
TIF       3372       3401     6458                 4                7            42802    $      6,587.00    Paul                Kaufman               23991   2020-07-23
TIF       3372       3401     6458                 4                7            42802    $        520.00    Paul                Kaufman               18322   2020-05-14
TIF       3372       3401     6458                 4                7            42802    $        885.00    Paul                Kaufman               24572   2020-08-13
TIF       3372       3401     6458                 4                7            42802    $      7,110.00    Paul                Kaufman               18161   2020-05-14
TIF       3372       3401     6458                 4                7            42802    $        520.00    Paul                Kaufman               23989   2020-07-23
TIF       3384       3412     6478                11                8         221335.08   $     56,357.14    Russell             Boston                12100   2019-10-21
TIF       3384       3412     6478                11                8         221335.08   $     14,910.61    Russell             Boston                12166   2019-10-31
TIF       3384       3412     6478                11                8         221335.08   $      1,050.00    Russell             Boston                12167   2019-10-31
TIF       3384       3412     6478                11                8         221335.08   $        450.00    Russell             Boston                24514   2020-08-13
TIF       3384       3412     6478                11                8         221335.08   $        259.00    Russell             Boston                18294   2020-05-29
TIF       3384       3412     6478                11                8         221335.08   $        550.00    Russell             Boston                24512   2020-08-13
TIF       3384       3412     6478                11                8         221335.08   $        550.00    Russell             Boston                25346   2020-09-25
TIF       3384       3412     6478                11                8         221335.08   $      1,975.00    Russell             Boston                24513   2020-08-13
TIF       3865       4473     8593                 5                1             6788    $      2,434.00    Orlando A           Marra                 22165   2020-06-12
TIF       3894       3925     7505                31                7          69351.16   $        356.00    Edward              Kim                   19525   2020-05-29
TIF       3894       3925     7505                31                7          69351.16   $      1,344.60    Edward              Kim                   32498   2021-08-06
TIF       3894       3925     7505                31                7          69351.16   $        896.40    Edward              Kim                   32499   2021-08-06
TIF       3894       3925     7505                31                7          69351.16   $        398.00    Edward              Kim                   19526   2020-05-29
TIF       3894       3925     7505                31                7          69351.16   $      5,901.00    Edward              Kim                   22130   2020-06-12
TIF       3894       3925     7505                31                7          69351.16   $        502.00    Edward              Kim                   23988   2020-07-23
TIF       3894       3925     7505                31                7          69351.16   $      5,037.00    Edward              Kim                   22129   2020-06-15
TIF       3913       3945     7545                 1                1            18000    $      9,000.00    Vincent             Vu                    32096   2021-06-30
TIF       3917       3949     7553                 2                1            28250    $      4,500.00    Andrew              Kumar                 27084   2020-10-29
TIF       3918       3950     7555                 1                1            11950    $      2,950.00    Abraham             Garcia                27083   2020-10-29
TIF       3979       4012     7679                 2               28          42252.13   $         66.00    Cory                Hilton                17104   0001-01-01
TIF       3979       4012     7679                 2               28          42252.13   $        (66.00)   Cory                Hilton                17302   2020-03-02
TIF       3979       4012     7679                 2               28          42252.13   $         66.00    Cory                Hilton                18132   0001-01-01




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                                                                   Tecumseh Overlap Receivables




            485                                                                           $ 1,321,907.04
Fund PatientID IncidentId ClaimId HASPerClaimCount TIFPerClaimCount   TotalClaimGFB       BillGFB            AttorneyFirstName   AttorneyLastName   BillId     PaidDate
TIF       3979       4012     7679                2                28          42252.13   $        (66.00)   Cory                Hilton                18483   2020-05-04
TIF       3979       4012     7679                2                28          42252.13   $         84.94    Cory                Hilton                15341   2020-01-03
TIF       3979       4012     7679                2                28          42252.13   $         66.00    Cory                Hilton                15345   2019-12-03
TIF       3979       4012     7679                2                28          42252.13   $         66.00    Cory                Hilton                17619   2020-04-03
TIF       3979       4012     7679                2                28          42252.13   $        127.87    Cory                Hilton                17103   2020-03-04
TIF       3979       4012     7679                2                28          42252.13   $         84.94    Cory                Hilton                17177   2020-03-04
TIF       3979       4012     7679                2                28          42252.13   $         66.00    Cory                Hilton                17303   2020-03-04
TIF       3979       4012     7679                2                28          42252.13   $         66.00    Cory                Hilton                15343   2020-01-03
TIF       3979       4012     7679                2                28          42252.13   $         84.94    Cory                Hilton                15346   2019-12-03
TIF       3979       4012     7679                2                28          42252.13   $        255.74    Cory                Hilton                17620   2020-04-03
TIF       3979       4012     7679                2                28          42252.13   $      6,487.00    Cory                Hilton                24502   2020-07-23
TIF       3979       4012     7679                2                28          42252.13   $     16,671.00    Cory                Hilton                25151   2020-10-06
TIF       3979       4012     7679                2                28          42252.13   $        125.70    Cory                Hilton                16836   2020-02-04
TIF       4011       4045     7739                2                 1            20950    $      9,000.00    Sam K.              Mukerji               28095   2020-12-04
TIF       4032       4066     7781                6                11            75587    $      9,100.00    Tanya               Miller                22120   2020-06-12
TIF       4032       4066     7781                6                11            75587    $      5,535.00    Tanya               Miller                22941   2020-06-15
TIF       4032       4066     7781                6                11            75587    $      9,100.00    Tanya               Miller                25025   2020-09-17
TIF       4032       4066     7781                6                11            75587    $        667.00    Tanya               Miller                32503   2021-08-06
TIF       4032       4066     7781                6                11            75587    $        120.00    Tanya               Miller                24842   2020-10-06
TIF       4032       4066     7781                6                11            75587    $      8,296.00    Tanya               Miller                20055   2020-06-15
TIF       4032       4066     7781                6                11            75587    $      3,289.00    Tanya               Miller                22121   2020-06-15
TIF       4032       4066     7781                6                11            75587    $      2,580.00    Tanya               Miller                24841   2020-10-06
TIF       4032       4066     7781                6                11            75587    $      1,119.00    Tanya               Miller                32504   2021-08-06
TIF       4032       4066     7781                6                11            75587    $      4,570.00    Tanya               Miller                22119   2020-06-15
TIF       4032       4066     7781                6                11            75587    $      8,296.00    Tanya               Miller                25154   2020-10-06
TIF       4044       4078     7805                1                 1            13500    $      9,000.00    Sam K.              Mukerji               26704   2020-10-15
TIF       4046       4080     7809                1                 1            11950    $      9,000.00    Claudia             Leung                 26705   2020-10-15
TIF       4082       4116     7881                1                 4             8050    $        520.00    Peter               Ross                  28925   2021-02-02
TIF       4082       4116     7881                1                 4             8050    $        520.00    Peter               Ross                  26728   2020-10-21
TIF       4082       4116     7881                1                 4             8050    $      3,780.00    Peter               Ross                  26967   2020-11-10
TIF       4082       4116     7881                1                 4             8050    $      2,530.00    Peter               Ross                  26968   2020-11-10
TIF       4096       4130     7909                1                 1             9300    $      4,650.00    Joe Ray             Rodriguez             26725   2020-10-15
TIF       4159       4193     8035                2                 5          33078.23   $         65.09    Cory                Hilton                18017   2020-05-05
TIF       4159       4193     8035                2                 5          33078.23   $        179.04    Cory                Hilton                18016   2020-05-05
TIF       4159       4193     8035                2                 5          33078.23   $         81.10    Cory                Hilton                18015   2020-05-05
TIF       4159       4193     8035                2                 5          33078.23   $      6,859.00    Cory                Hilton                23986   2020-07-23
TIF       4194       4228     8105                1                 1            10400    $      2,950.00    David Aziel         Garcia                26697   2020-10-15
TIF       4245       4279     8206                1                 1            11950    $      4,500.00    Smith               Hassler               26710   2020-10-15
TIF       4307       4342     8331                1                 1             9000    $      4,500.00    Joe Ray             Rodriguez             24645   2020-08-05
TIF       4348       4385     8418                5                 2             7715    $      1,200.00    Kathryn             Burmeister            22441   2020-06-12
TIF       4348       4385     8418                5                 2             7715    $        702.00    Kathryn             Burmeister            22442   2020-06-12
TIF       4353       4390     8428                3                 1           2844.08   $        207.00    Charles E (Ted)     Lake, Jr.             18309   2020-05-14
TIF       4354       4391     8430                9                13           83564.9   $        195.00    Peter               Ross                  23054   2020-06-29
TIF       4354       4391     8430                9                13           83564.9   $      2,950.00    Peter               Ross                  23983   2020-07-23
TIF       4354       4391     8430                9                13           83564.9   $     12,700.00    Peter               Ross                  23984   2020-07-23
TIF       4354       4391     8430                9                13           83564.9   $        195.00    Peter               Ross                  24058   2020-07-23
TIF       4354       4391     8430                9                13           83564.9   $     14,502.00    Peter               Ross                  25260   2020-10-06
TIF       4354       4391     8430                9                13           83564.9   $     14,502.00    Peter               Ross                  25261   2020-10-06
TIF       4354       4391     8430                9                13           83564.9   $      3,500.00    Peter               Ross                  25262   2020-10-06
TIF       4354       4391     8430                9                13           83564.9   $      3,532.00    Peter               Ross                  25263   2020-10-06
TIF       4354       4391     8430                9                13           83564.9   $        195.00    Peter               Ross                  26726   2020-10-21
TIF       4354       4391     8430                9                13           83564.9   $        195.00    Peter               Ross                  29258   2021-03-19
TIF       4354       4391     8430                9                13           83564.9   $      1,226.85    Peter               Ross                  31462   2021-06-02
TIF       4354       4391     8430                9                13           83564.9   $      3,700.00    Peter               Ross                  31463   2021-06-02
TIF       4354       4391     8430                9                13           83564.9   $        195.00    Peter               Ross                  31885   2021-06-24
TIF       4380       4417     8481                1                 1             9000    $      4,500.00    Clifford D.         Peel                  29475   2021-03-24
TIF       4402       4439     8525                1                 1             9000    $      4,500.00    Christopher J.      Leavitt               24650   2020-08-05
TIF       4428       4465     8577                1                 1             9000    $      4,500.00    David J.            Romagosa              26905   2020-10-09
TIF       4466       4504     8655                4                 3           7930.12   $        307.00    Tiffany             Adams                 21886   2020-06-12
TIF       4466       4504     8655                4                 3           7930.12   $        307.04    Tiffany             Adams                 18323   2020-05-14
TIF       4466       4504     8655                4                 3           7930.12   $      1,045.00    Tiffany             Adams                 18533   2020-05-14
TIF       4488       4525     8697                8                 5          23678.41   $      3,501.50    Peter               Ross                  19229   2020-05-29
TIF       4488       4525     8697                8                 5          23678.41   $        385.00    Peter               Ross                  19321   2020-05-29
TIF       4488       4525     8697                8                 5          23678.41   $      1,575.00    Peter               Ross                  18934   2020-05-29
TIF       4488       4525     8697                8                 5          23678.41   $        425.00    Peter               Ross                  18324   2020-05-14
TIF       4488       4525     8697                8                 5          23678.41   $        385.00    Peter               Ross                  19839   2020-05-29
TIF       4491       4528     8703                4                 6            10031    $        293.00    Paul                Mazur                 18199   2020-05-14
TIF       4491       4528     8703                4                 6            10031    $        881.00    Paul                Mazur                 30657   2021-05-10
TIF       4491       4528     8703                4                 6            10031    $        293.00    Paul                Mazur                 19928   2020-05-29
TIF       4491       4528     8703                4                 6            10031    $        293.00    Paul                Mazur                 31671   2021-06-09
TIF       4491       4528     8703                4                 6            10031    $      4,398.30    Paul                Mazur                 23418   2020-06-29
TIF       4491       4528     8703                4                 6            10031    $        293.00    Paul                Mazur                 30196   2021-04-26
TIF       4494       4531     8709                3                 1             4640    $      1,977.00    John                Jackson               23049   2020-06-29
TIF       4497       4534     8715                6                 5          20989.25   $      1,575.00    Ali                 Salimi                24431   2020-07-23
TIF       4497       4534     8715                6                 5          20989.25   $      1,329.00    Ali                 Salimi                23114   2020-06-29




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                 Case 21-14486-abl                    Doc 54-2             Entered 10/05/21 14:59:24                           Page 6 of 8
                                                                    Tecumseh Overlap Receivables




            485                                                                         $ 1,321,907.04
Fund PatientID IncidentId ClaimId HASPerClaimCount TIFPerClaimCount   TotalClaimGFB     BillGFB           AttorneyFirstName   AttorneyLastName   BillId     PaidDate
TIF       4497       4534     8715                6                 5          20989.25 $        385.00   Ali                 Salimi                21890   2020-06-12
TIF       4497       4534     8715                6                 5          20989.25 $        385.00   Ali                 Salimi                24511   2020-08-13
TIF       4497       4534     8715                6                 5          20989.25 $      3,501.50   Ali                 Salimi                24430   2020-07-23
TIF       4515       4552     8751                1                 1            18000 $       9,000.00   Bret                Griffin               24623   2020-08-05
TIF       4516       4553     8753                1                 1            18000 $       9,000.00   Bret                Griffin               24624   2020-08-05
TIF       4527       4564     8775                1                 3            32900 $       4,500.00   Sam K.              Mukerji               23867   2020-07-08
TIF       4527       4564     8775                1                 3            32900 $      11,950.00   Sam K.              Mukerji               23914   2020-07-08
TIF       4527       4564     8775                1                 3            32900 $       4,500.00   Sam K.              Mukerji               26828   2020-10-09
TIF       4529       4566     8779                3                14            37205 $         700.00   Roxana              Ramos                 27519   2020-09-04
TIF       4529       4566     8779                3                14            37205 $         445.00   Roxana              Ramos                 27520   2020-09-04
TIF       4529       4566     8779                3                14            37205 $         440.00   Roxana              Ramos                 27521   2020-09-04
TIF       4529       4566     8779                3                14            37205 $         600.00   Roxana              Ramos                 27522   2020-09-04
TIF       4529       4566     8779                3                14            37205 $         600.00   Roxana              Ramos                 27523   2020-09-04
TIF       4529       4566     8779                3                14            37205 $         605.00   Roxana              Ramos                 27524   2020-09-04
TIF       4529       4566     8779                3                14            37205 $         725.00   Roxana              Ramos                 27533   2020-09-04
TIF       4529       4566     8779                3                14            37205 $         225.00   Roxana              Ramos                 27534   2020-09-04
TIF       4529       4566     8779                3                14            37205 $         675.00   Roxana              Ramos                 27535   2020-09-04
TIF       4529       4566     8779                3                14            37205 $         630.00   Roxana              Ramos                 27536   2020-09-04
TIF       4529       4566     8779                3                14            37205 $         505.00   Roxana              Ramos                 27537   2020-09-04
TIF       4529       4566     8779                3                14            37205 $         500.00   Roxana              Ramos                 27540   2020-09-04
TIF       4529       4566     8779                3                14            37205 $         260.00   Roxana              Ramos                 27541   2020-09-04
TIF       4529       4566     8779                3                14            37205 $         495.00   Roxana              Ramos                 27555   2020-09-04
TIF       4571       4609     8865                1                 4             3150 $         600.00   Michael             Day                   22169   2020-06-12
TIF       4571       4609     8865                1                 4             3150 $         600.00   Michael             Day                   22176   2020-06-12
TIF       4571       4609     8865                1                 4             3150 $         600.00   Michael             Day                   22177   2020-06-12
TIF       4571       4609     8865                1                 4             3150 $         600.00   Michael             Day                   22178   2020-06-12
TIF       4591       4629     8905                1                 1            14058 $       2,093.00   Timothy             Revero                20502   2020-06-12
TIF       4599       4637     8920                3                 1           187680 $ 118,560.00       Madeleine           Simmons               24858   2020-08-24
TIF       4604       4642     8930                1                 1               480 $        240.00   Craig               LaChanse              25362   2020-09-08
TIF       4608       4646     8938                2                 1           5494.01 $        590.00   Reginald A          Greene                23292   2020-06-29
TIF       4620       4658     8962                1                 1               490 $        300.00   My                  Lowe                  18159   2020-05-14
TIF       4683       4723     9092                1                 1            33342 $      16,671.00   Cory                Hilton                25150   2020-10-06
TIF       4711       4752     9150                3                 2          14629.14 $      6,440.41   Smith & Hassler                           24851   2020-08-14
TIF       4711       4752     9150                3                 2          14629.14 $           -     Smith & Hassler                           30553   2021-04-15
TIF       4724       4764     9174                1                13            10955 $         650.00   Roxana              Ramos                 27542   2020-09-04
TIF       4724       4764     9174                1                13            10955 $         450.00   Roxana              Ramos                 27543   2020-09-04
TIF       4724       4764     9174                1                13            10955 $         545.00   Roxana              Ramos                 27544   2020-09-04
TIF       4724       4764     9174                1                13            10955 $         620.00   Roxana              Ramos                 27545   2020-09-04
TIF       4724       4764     9174                1                13            10955 $         445.00   Roxana              Ramos                 27546   2020-09-04
TIF       4724       4764     9174                1                13            10955 $         575.00   Roxana              Ramos                 27547   2020-09-04
TIF       4724       4764     9174                1                13            10955 $         545.00   Roxana              Ramos                 27548   2020-09-04
TIF       4724       4764     9174                1                13            10955 $         150.00   Roxana              Ramos                 27549   2020-09-04
TIF       4724       4764     9174                1                13            10955 $         575.00   Roxana              Ramos                 27550   2020-09-04
TIF       4724       4764     9174                1                13            10955 $         675.00   Roxana              Ramos                 27551   2020-09-04
TIF       4724       4764     9174                1                13            10955 $         445.00   Roxana              Ramos                 27552   2020-09-04
TIF       4724       4764     9174                1                13            10955 $         280.00   Roxana              Ramos                 27553   2020-09-04
TIF       4724       4764     9174                1                13            10955 $         500.00   Roxana              Ramos                 27554   2020-09-04
TIF       4727      10711 21060                   1                 2             2950 $       2,950.00   Smith & Hassler                           28797   2021-01-29
TIF       4727      11132 21898                   1                 2             4500 $       4,500.00   Smith & Hassler                           30079   2021-04-15
TIF       4730       4771     9188                1                 1            14900 $       4,500.00   Elisa               Salazar               28084   2020-12-04
TIF       4748       4789     9223                1                 2            675.05 $        195.05   Jonathan            Broderick             23164   2020-06-29
TIF       4748       4789     9223                1                 2            675.05 $        130.00   Jonathan            Broderick             24646   2020-08-13
TIF       4758       4799     9243                1                 1             9000 $       4,500.00   Smith & Hassler                           26722   2020-10-15
TIF       4761       4802     9249                1                 1            14900 $       4,500.00   Rian                Taff                  26706   2020-10-15
TIF       4769       4810     9265                1                 2            22500 $       4,500.00   Peter A.            Ruman                 23865   2020-07-08
TIF       4769       4810     9265                1                 2            22500 $       9,000.00   Peter A.            Ruman                 23913   2020-07-08
TIF       4778       4819     9283                1                 1            13500 $       4,500.00   Jessica             Salto                 27124   2020-10-29
TIF       4797       4838     9321                4                39          59790.16 $      7,200.00   Samuel              Johnson               25282   2020-10-06
TIF       4797       4838     9321                4                39          59790.16 $        507.21   Samuel              Johnson               29086   2021-02-12
TIF       4797       4838     9321                4                39          59790.16 $      6,883.05   Samuel              Johnson               24854   2020-09-25
TIF       4797       4838     9321                4                39          59790.16 $      1,400.00   Samuel              Johnson               27388   2020-11-10
TIF       4797       4838     9321                4                39          59790.16 $      1,230.00   Samuel              Johnson               27709   2020-12-04
TIF       4797       4838     9321                4                39          59790.16 $        290.00   Samuel              Johnson               24557   2020-08-13
TIF       4797       4838     9321                4                39          59790.16 $        223.50   Samuel              Johnson               24758   2020-09-25
TIF       4797       4838     9321                4                39          59790.16 $        601.00   Samuel              Johnson               25347   2020-10-06
TIF       4797       4838     9321                4                39          59790.16 $        401.50   Samuel              Johnson               25348   2020-10-06
TIF       4797       4838     9321                4                39          59790.16 $        332.50   Samuel              Johnson               25467   2020-10-21
TIF       4797       4838     9321                4                39          59790.16 $        403.00   Samuel              Johnson               25468   2020-10-21
TIF       4797       4838     9321                4                39          59790.16 $        332.50   Samuel              Johnson               25469   2020-10-21
TIF       4797       4838     9321                4                39          59790.16 $        403.00   Samuel              Johnson               25470   2020-10-21
TIF       4797       4838     9321                4                39          59790.16 $        401.50   Samuel              Johnson               25471   2020-10-21
TIF       4797       4838     9321                4                39          59790.16 $        332.50   Samuel              Johnson               26951   2020-11-10
TIF       4797       4838     9321                4                39          59790.16 $        292.50   Samuel              Johnson               27064   2020-11-10
TIF       4797       4838     9321                4                39          59790.16 $        332.50   Samuel              Johnson               27065   2020-11-10
TIF       4797       4838     9321                4                39          59790.16 $        484.00   Samuel              Johnson               27384   2020-11-10




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                 Case 21-14486-abl                     Doc 54-2            Entered 10/05/21 14:59:24                            Page 7 of 8
                                                                    Tecumseh Overlap Receivables




            485                                                                         $ 1,321,907.04
Fund PatientID IncidentId ClaimId HASPerClaimCount TIFPerClaimCount   TotalClaimGFB     BillGFB            AttorneyFirstName   AttorneyLastName   BillId     PaidDate
TIF       4797       4838     9321                4                39          59790.16 $        401.50    Samuel              Johnson               27385   2020-11-10
TIF       4797       4838     9321                4                39          59790.16 $        292.50    Samuel              Johnson               27386   2020-11-10
TIF       4797       4838     9321                4                39          59790.16 $        292.50    Samuel              Johnson               27387   2020-11-10
TIF       4797       4838     9321                4                39          59790.16 $        292.50    Samuel              Johnson               27590   2020-11-16
TIF       4797       4838     9321                4                39          59790.16 $        401.50    Samuel              Johnson               27707   2020-12-04
TIF       4797       4838     9321                4                39          59790.16 $        110.50    Samuel              Johnson               27708   2020-12-04
TIF       4797       4838     9321                4                39          59790.16 $        361.50    Samuel              Johnson               27840   2020-12-04
TIF       4797       4838     9321                4                39          59790.16 $        361.50    Samuel              Johnson               28050   2020-12-22
TIF       4797       4838     9321                4                39          59790.16 $        361.50    Samuel              Johnson               28273   2020-12-22
TIF       4797       4838     9321                4                39          59790.16 $        292.50    Samuel              Johnson               28274   2020-12-22
TIF       4797       4838     9321                4                39          59790.16 $        375.00    Samuel              Johnson               28275   2020-12-22
TIF       4797       4838     9321                4                39          59790.16 $        292.50    Samuel              Johnson               28478   2021-01-05
TIF       4797       4838     9321                4                39          59790.16 $        292.50    Samuel              Johnson               28479   2021-01-05
TIF       4797       4838     9321                4                39          59790.16 $        222.00    Samuel              Johnson               28480   2021-01-05
TIF       4797       4838     9321                4                39          59790.16 $        401.50    Samuel              Johnson               28481   2021-01-05
TIF       4797       4838     9321                4                39          59790.16 $        361.50    Samuel              Johnson               28692   2021-02-12
TIF       4797       4838     9321                4                39          59790.16 $        401.50    Samuel              Johnson               29816   2021-04-14
TIF       4797       4838     9321                4                39          59790.16 $      5,064.05    Samuel              Johnson               24852   2020-09-25
TIF       4797       4838     9321                4                39          59790.16 $     20,332.90    Samuel              Johnson               24853   2020-10-06
TIF       4797       4838     9321                4                39          59790.16 $        100.90    Samuel              Johnson               24571   2020-08-13
TIF       4797       4838     9321                4                39          59790.16 $      1,405.95    Samuel              Johnson               23055   2020-06-29
TIF       4805       4846     9337                2                 2           7634.08 $      6,295.92    Ronald              Chalker               19365   2020-05-29
TIF       4805       4846     9337                2                 2           7634.08 $        304.24    Ronald              Chalker               23115   2020-06-29
TIF       4806       4847     9339                1                 2           7274.04 $      4,740.00    Orlando A           Marra                 18160   2020-05-14
TIF       4806       4847     9339                1                 2           7274.04 $        309.04    Orlando A           Marra                 18302   2020-05-14
TIF       4810       4851     9347                4                25            81799 $         230.00    Natanya             Brooks                18296   2020-05-14
TIF       4810       4851     9347                4                25            81799 $      17,902.00    Natanya             Brooks                19911   2020-05-29
TIF       4810       4851     9347                4                25            81799 $      32,980.00    Natanya             Brooks                19913   2020-05-29
TIF       4810       4851     9347                4                25            81799 $         250.00    Natanya             Brooks                24699   2020-08-13
TIF       4810       4851     9347                4                25            81799 $      17,902.00    Natanya             Brooks                19910   2020-05-29
TIF       4810       4851     9347                4                25            81799 $         398.00    Natanya             Brooks                24585   2020-08-13
TIF       4810       4851     9347                4                25            81799 $         356.00    Natanya             Brooks                24586   2020-08-13
TIF       4810       4851     9347                4                25            81799 $         336.00    Natanya             Brooks                24736   2020-10-06
TIF       4810       4851     9347                4                25            81799 $         250.00    Natanya             Brooks                24378   2020-07-23
TIF       4810       4851     9347                4                25            81799 $         336.00    Natanya             Brooks                24589   2020-08-13
TIF       4810       4851     9347                4                25            81799 $         316.00    Natanya             Brooks                18295   2020-05-14
TIF       4810       4851     9347                4                25            81799 $       1,166.00    Natanya             Brooks                24836   2020-10-06
TIF       4810       4851     9347                4                25            81799 $         316.00    Natanya             Brooks                18325   2020-05-14
TIF       4810       4851     9347                4                25            81799 $         645.00    Natanya             Brooks                24835   2020-10-06
TIF       4810       4851     9347                4                25            81799 $         336.00    Natanya             Brooks                24442   2020-07-23
TIF       4810       4851     9347                4                25            81799 $          90.00    Natanya             Brooks                18326   2020-05-14
TIF       4810       4851     9347                4                25            81799 $       3,800.00    Natanya             Brooks                19312   2020-05-29
TIF       4810       4851     9347                4                25            81799 $         336.00    Natanya             Brooks                24588   2020-08-13
TIF       4810       4851     9347                4                25            81799 $         336.00    Natanya             Brooks                24698   2020-08-13
TIF       4810       4851     9347                4                25            81799 $         336.00    Natanya             Brooks                24587   2020-08-13
TIF       4810       4851     9347                4                25            81799 $         322.00    Natanya             Brooks                24697   2020-08-13
TIF       4810       4851     9347                4                25            81799 $         236.00    Natanya             Brooks                23290   2020-06-29
TIF       4810       4851     9347                4                25            81799 $         398.00    Natanya             Brooks                18621   2020-05-14
TIF       4810       4851     9347                4                25            81799 $         404.00    Natanya             Brooks                23604   2020-07-23
TIF       4810       4851     9347                4                25            81799 $         398.00    Natanya             Brooks                24834   2020-10-06
TIF       4982      11659 22951                   2                 1             2950 $       2,950.00    Gustavo             Villalpando           32788   2021-08-24
TIF       5014       5055     9755                1                 1             5900 $       2,950.00    Pegah               Rahgozar              26719   2020-10-15
TIF       5064       5105     9855                1                 1            10400 $       2,950.00    Pegah               Rahgozar              26702   2020-10-15
TIF       7977       8078 15801                   1                 2           9930.26 $        700.00    Nicholas M.         Wills                 24849   2020-08-14
TIF       7977       8078 15801                   1                 2           9930.26 $      1,008.81    Nicholas M.         Wills                 24850   2020-08-14
TIF       8053       8157 15959                   1                 1           21784.4 $     10,892.20    Richard             Presutti              22509   2020-06-09
TIF       8102       8210 16065                   2                 2          53845.22 $     16,130.82    Corey S.            Gomel                 22511   2020-06-09
TIF       8102       8210 16065                   2                 2          53845.22 $     15,930.00    Corey S.            Gomel                 28374   2020-12-23
TIF       9577       9817 19279                   2                11           7302.32 $        724.15    Nathan              Fitzpatrick           26688   2020-10-21
TIF       9577       9817 19279                   2                11           7302.32 $        257.40    Nathan              Fitzpatrick           26687   2020-10-21
TIF       9577       9817 19279                   2                11           7302.32 $        540.95    Nathan              Fitzpatrick           28920   2021-02-12
TIF       9577       9817 19279                   2                11           7302.32 $      1,847.00    Nathan              Fitzpatrick           24567   2020-08-13
TIF       9577       9817 19279                   2                11           7302.32 $      3,100.87    Nathan              Fitzpatrick           24566   2020-08-13
TIF       9577       9817 19279                   2                11           7302.32 $        540.95    Nathan              Fitzpatrick           25272   2020-09-25
TIF       9577       9817 19279                   2                11           7302.32 $        291.00    Nathan              Fitzpatrick           25476   2020-10-21
TIF       9577      10227 20097                   2                11               480 $        120.00    Nathan              Fitzpatrick           28258   2020-12-22
TIF       9577      10227 20097                   2                11               480 $        120.00    Nathan              Fitzpatrick           29375   2021-03-26
TIF       9838      10077 19797                   3                 6            2449.5 $        574.50    Candace             Malone                25494   2020-10-21
TIF       9838      10077 19797                   3                 6            2449.5 $        375.00    Candace             Malone                25495   2020-10-21
TIF       9838      10077 19797                   3                 6            2449.5 $        375.00    Candace             Malone                25496   2020-10-21
TIF       9838      10077 19797                   3                 6            2449.5 $        375.00    Candace             Malone                25497   2020-10-21
TIF       9838      10077 19797                   3                 6            2449.5 $        375.00    Candace             Malone                25498   2020-10-21
TIF       9838      10077 19797                   3                 6            2449.5 $        375.00    Candace             Malone                25499   2020-10-21
TIF       9842      10081 19805                   2                44           4749.61 $        115.90    Yehonatan           Weinberg              25529   2020-10-05
TIF       9842      10081 19805                   2                44           4749.61 $       (115.90)   Yehonatan           Weinberg              25533   2020-10-05




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                                                                   Tecumseh Overlap Receivables




            485                                                                           $ 1,321,907.04
Fund PatientID IncidentId ClaimId HASPerClaimCount TIFPerClaimCount   TotalClaimGFB       BillGFB           AttorneyFirstName   AttorneyLastName   BillId     PaidDate
TIF       9842      10081 19805                   2                44           4749.61   $        295.23   Yehonatan           Weinberg              25549   2020-10-05
TIF       9842      10081 19805                   2                44           4749.61   $        295.23   Yehonatan           Weinberg              29634   2021-04-02
TIF       9842      10081 19805                   2                44           4749.61   $        115.90   Yehonatan           Weinberg              25525   2020-10-05
TIF       9842      10081 19805                   2                44           4749.61   $        115.90   Yehonatan           Weinberg              25535   2020-10-05
TIF       9842      10081 19805                   2                44           4749.61   $         84.26   Yehonatan           Weinberg              25536   2020-10-05
TIF       9842      10081 19805                   2                44           4749.61   $        295.23   Yehonatan           Weinberg              28449   2021-01-07
TIF       9842      10081 19805                   2                44           4749.61   $        222.24   Yehonatan           Weinberg              27889   2020-12-02
TIF       9842      10081 19805                   2                44           4749.61   $        115.90   Yehonatan           Weinberg              25527   2020-10-05
TIF       9842      10081 19805                   2                44           4749.61   $        122.32   Yehonatan           Weinberg              25555   2020-10-05
TIF       9842      10081 19805                   2                44           4749.61   $        295.23   Yehonatan           Weinberg              29846   2021-05-03
TIF       9842      10081 19805                   2                44           4749.61   $        175.90   Yehonatan           Weinberg              25541   2020-10-05
TIF       9842      10081 19805                   2                44           4749.61   $        295.23   Yehonatan           Weinberg              27890   2020-12-02
TIF       9842      10081 19805                   2                44           4749.61   $        295.23   Yehonatan           Weinberg              25547   2020-10-05
TIF       9842      10081 19805                   2                44           4749.61   $        222.24   Yehonatan           Weinberg              25551   2020-10-05
TIF       9842      10081 19805                   2                44           4749.61   $        222.24   Yehonatan           Weinberg              25545   2020-10-05
TIF       9842      10081 19805                   2                44           4749.61   $        222.24   Yehonatan           Weinberg              25538   2020-10-05
TIF       9842      10081 19805                   2                44           4749.61   $        155.80   Yehonatan           Weinberg              27891   2020-12-02
TIF       9842      10081 19805                   2                44           4749.61   $        295.23   Yehonatan           Weinberg              28958   2021-02-03
TIF       9842      10081 19805                   2                44           4749.61   $        175.90   Yehonatan           Weinberg              25543   2020-10-05
TIF       9842      10081 19805                   2                44           4749.61   $        122.32   Yehonatan           Weinberg              25552   2020-10-05
TIF       9842      10081 19805                   2                44           4749.61   $        115.90   Yehonatan           Weinberg              25539   2020-10-05
TIF       9842      10081 19805                   2                44           4749.61   $        222.24   Yehonatan           Weinberg              25554   2020-10-05
TIF       9842      10081 19805                   2                44           4749.61   $        155.80   Yehonatan           Weinberg              29312   2021-03-08
TIF       9952      10191 20025                   4                11            866.96   $        124.26   HagopJ.             Bazerkanian           26437   2020-10-05
TIF       9952      10191 20025                   4                11            866.96   $        123.46   HagopJ.             Bazerkanian           26442   2020-10-05
TIF       9952      10191 20025                   4                11            866.96   $        168.94   HagopJ.             Bazerkanian           26439   2020-10-05
TIF       9952      10191 20025                   4                11            866.96   $        168.94   HagopJ.             Bazerkanian           26433   2020-10-05
TIF       9952      10191 20025                   4                11            866.96   $        157.10   HagopJ.             Bazerkanian           26441   2020-10-05
TIF       9952      10191 20025                   4                11            866.96   $        124.26   HagopJ.             Bazerkanian           26435   2020-10-05
TIF      10182       5048     9741                1                 1            11950    $      2,950.00   Kumar Law Firm                            27258   2020-10-29
TIF      10799      11164 21962                   8                 5             6235    $      2,210.00   Edward              Molinary              30213   2021-04-26
TIF      10799      11164 21962                   8                 5             6235    $      1,150.00   Edward              Molinary              31273   2021-05-19
TIF      10799      11164 21962                   8                 5             6235    $      1,150.00   Edward              Molinary              31661   2021-06-09
TIF      10799      11164 21962                   8                 5             6235    $        575.00   Edward              Molinary              31662   2021-06-09
TIF      10799      11164 21962                   8                 5             6235    $      1,150.00   Edward              Molinary              32241   2021-07-21




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